Case 2:03-cv-02637-tmp Document 86 Filed 06/20/05 Page 1 of 2 Page|D 89

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IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE 05 JU?¢ZD PH 2:51§
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§ W,¢¢)_ »:.-z= TN, MEMPH!S
YouNG's TRADING.
Plaintiff,
vs. Civ. No. 03-2637-P
FANCY IMPORTS, et al.,

Defendants.

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ORDER SETTING DAUBERT MOTION DEADLINES AND TRIAL

 

The court held a status conference on June 16, 2005. All
parties were present and heard. For good cause shown, the schedule

is amended as follows:

1. Defendants' Daubert Motion - July 15, 2005
2. Plaintiff's Response - August 1, 2005

3. Defendants' Reply - August 15, 2005

4. Joint pre»trial order shall be filed, with a

courtesy copy delivered to chambers, by August 26, 2005,
by 5:00 p.m.

 

5. The prevtrial conference - September 2, 2005 at 10:00
a.m.
6. Jury trial is set for September 20, 2005 at 10:00 a.m.
IT IS SO ORDERED.
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United States Magistrate Judge

T\>M \’l. amf
Date

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with ama 58 and/or 7 fha docket she

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This notice confirms a copy of the document docketed as number 86 in
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Honorable Tu Pham
US DISTRICT COURT

